Case 2:20-cv-00966-NR Document 438-3 Filed 09/06/20 Page 1 of 3




                    EXHIBIT M
        Case 2:20-cv-00966-NR Document 438-3 Filed 09/06/20 Page 2 of 3




                    IN THE SUPREME COURT OF PENNSYLVANIA
                                MIDDLE DISTRICT


 MICHAEL CROSSEY, DWAYNE THOMAS,   : No. 108 MM 2020
 IRVIN WEINREICH, BRENDA WEINREICH,:
 AND THE PENNSYLVANIA ALLIANCE FOR :
 RETIRED AMERICANS,                :
                                   :
                Petitioners        :
                                   :
                                   :
            v.                     :
                                   :
                                   :
 KATHY BOOCKVAR, SECRETARY OF THE :
 COMMONWEALTH, AND JESSICA         :
 MATHIS, DIRECTOR OF THE BUREAU OF :
 ELECTION SERVICES AND NOTARIES,   :
                                   :
                Respondents        :


                    CONCURRING AND DISSENTING STATEMENT


CHIEF JUSTICE SAYLOR                                     FILED: August 21, 2020


       I join in the grant of intervenor status to the Pennsylvania legislative leaders.

       I would, however, accord the same to the Republican Party of Pennsylvania, the

Republican National Committee, and the National Republican Congressional Committee.

These Committees present numerous reasons why they have particularized interests in

ensuring that Pennsylvania carries out free and fair elections in accordance with its validly

enacted election laws. For example, the Committees explain that they devote substantial

resources toward educating, mobilizing, assisting, and turning out voters and make

contributions and expenditures in support of Republican candidates.
          Case 2:20-cv-00966-NR Document 438-3 Filed 09/06/20 Page 3 of 3




         I agree with the Republican Committees’ assertion that their present interests are

at least on the same order as those of Petitioner the Pennsylvania Alliance for Retired

Americans, which the Associated Press has reported is a “major Democratic political

group.” Jonathan Tamari, A Key Democratic Group Is Suing to Ease Pennsylvania’s

Vote-By-Mail Laws, THE PHILADELPHIA INQUIRER (Apr. 22, 2020) (adapted from Rick

Bowmer, Associated Press). Significantly, as well, the present lawsuit is reportedly

funded by “Priorities USA, the main super PAC supporting . . . presidential nominee Joe

Biden.” Id.

         This litigation represents one of many high-stakes disputes between political

organizations with differing constituencies unfolding across the country. I respectfully

dissent to the associational interests of one side being represented to the exclusion of the

other.



         Justice Mundy joins this concurring and dissenting statement.




                                     [108 MM 2020] - 2
